   Case 18-16521-amc         Doc 82       Filed 04/23/21 Entered 04/23/21 15:54:13          Desc Main
                                          Document     Page 1 of 1



                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Maureen Elizabeth Calder aka Maureen E.
Herron aka Maureen Herron aka Maureen Calder
                             Debtor(s)                                         CHAPTER 13

M&T Bank, its successors and/or assigns
                              Movant
               vs.
                                                                             NO. 18-16521 AMC
Maureen Elizabeth Calder aka Maureen E. Herron aka
Maureen Herron aka Maureen Calder
                              Debtor(s)

William C. Miller Esq.                                                   11 U.S.C. Section 362
                              Trustee


                                      PRAECIPE TO WITHDRAW

TO THE CLERK OF THE BANKRUPTCY COURT:
   Kindly withdraw the Certification of Default of M&T Bank, which was filed with the Court on or
about February 24, 2021 (Doc. No. 76).
                                                   Respectfully submitted,


                                                     /s/ Rebecca A. Solarz, Esq.
                                                     ____________________________________
                                                     Rebecca A. Solarz, Esquire
                                                     KML Law Group, P.C.
                                                     BNY Mellon Independence Center
                                                     701 Market Street, Suite 5000
                                                     Philadelphia, PA 19106
                                                     Phone: (215)-627-1322

Dated: 4/23/21
